         Case 1:17-cv-08789-MKV-RWL Document 84 Filed 03/15/19 Page 1 of 10




   IN THE UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   ---------------------------------------------------------------------------

   JOSHUA SCHLEIFER, Individually, and on behalf of all                          Civil No.: 17-cv-08789 (AJN)
   others similarly situated,

                                   Plaintiff,
                     vs.


   LEXUS OF MANHATTAN; ZIPWHIP, INC.; BRAM AUTO
   GROUP, LLC.

                                  Defendants.
   ---------------------------------------------------------------------------




                DEFENDANT BRAM AUTO GROUP LLC’S
      MEMORANDUM OF LAW IN REPLY TO PLAINTIFF’S OPPOSITION AND IN
             FURTHER SUPPORT OF IT’S MOTION TO DISMISS




                                       LONDON FISCHER LLP
                                          59 MAIDEN LANE
                                     NEW YORK, NEW YORK 10038
                                            (212) 972-1000



{N1441905.1 }
         Case 1:17-cv-08789-MKV-RWL Document 84 Filed 03/15/19 Page 2 of 10




                                    PRELIMINARY STATEMENT

            Plaintiff’s opposition to Defendant BRAM Auto Group, LLC’s motion further supports

dismissal of each and every cause of action asserted against BRAM Auto Group, LLC in the

Amended Complaint.

            Plaintiff’s continued failure to recognize and acknowledge the distinct differences

between a trade name and a defunct corporate entity does not support the meritless claims

asserted against BRAM Auto Group, LLC.

            As addressed in BRAM Auto Group, LLC’s motion papers, and the records that have

been before this Court since the inception of this matter, Bay Ridge Automotive Management

Corp. is not BRAM Auto Group, LLC. It has not and cannot be disputed that Bay Ridge

Automotive Management Corp. (“BRAM Corp.”) does business as BRAM Auto Group. It also

cannot be disputed that the trade name BRAM Auto Group is not BRAM Auto Group, LLC.

Plaintiff’s persistent co-mingling of these separate entities - BRAM Corp. d/b/a BRAM Auto

Group and BRAM Auto Group, LLC. - and continued insistence on proceeding with claims

against the wrong, defunct entity should not be permitted by this Court.

            Plaintiff’s opposition relies on factually incorrect arguments that should be disregarded

by the Court. The following are the accurate facts before the Court supporting dismissal of

BRAM Auto Group, LLC:

                •   BRAM Auto Group, LLC was dissolved more than two years prior to the text
                    message received by Plaintiff (formed: 12/14/2014; dissolved 4/20/2015; text
                    message: 11/11/2017) [Docket No. 67, ¶ 6; 67-2];

                •   Bay Ridge Automotive Corp. d/b/a BRAM Auto Group is not the same corporate
                    entity as BRAM Auto Group, LLC;

                •   Plaintiff did not timely and properly effectuate service of the Amended Complaint
                    on BRAM Auto Group, LLC;




{N1441905.1 }                                   1
         Case 1:17-cv-08789-MKV-RWL Document 84 Filed 03/15/19 Page 3 of 10




                •   Plaintiff incorrectly and improperly served the director of payroll for BRAM
                    Corp. d/b/a BRAM Auto Group. Plaintiff did not serve the Amended Complaint
                    on BRAM Auto Group, LLC;

                •   Jacquelin Calderon’s LinkedIn page identifying her employer as BRAM Auto
                    Group is correct as it is the trade name for BRAM Corp. [Plaintiff’s Ex. G;
                    Docket 76-7];

                •   The interrogatory responses from Lexus of Manhattan identifying Howard
                    Simons and Salvatore Iacono from BRAM Auto Group as having knowledge of
                    the facts or issues in this matter was correct. Neither Mr. Simons nor Mr. Iacono
                    are employed by BRAM Auto Group, LLC;

                •   The lawsuit annexed as Plaintiff’s Exhibit “H” – Stewart v. Bay Ridge Nissan,
                    Inc. correctly identified the party as Bay Ridge Automotive Management Corp.
                    d/b/a BRAM Auto Group. BRAM Auto Group, LLC was not named in that
                    action; [Docket 76-8].

                •   Plaintiff’s attempt to establish personal jurisdiction based upon an unverified
                    pleading in a separate action wherein the undersigned firm is not counsel should
                    be disregarded. Even so, the parties in Lopez v. BRAM Auto, Group, LLC, Case
                    No. 18-cv-14691 in the U.S. District of New Jersey have confirmed in writing that
                    the caption is being amended to remove BRAM Auto Group, LLC as the
                    defendant because it is a dissolved entity. The parties in Lopez are submitting a
                    Stipulation and Proposed Order to the Court substituting the correct entity that
                    purportedly employed Mr. Lopez. [Myers Dec., Ex. 3; Docket 76-8];

                •   The 2018 New Jersey Business Gateway, Business Entity Information and
                    Records Service attached as Plaintiff’s Exhibit “D” is a report for “Bay Ridge
                    Automotive Management Corp.” that correctly identifies its associated name as
                    “BRAM”. The document does not list BRAM Auto Group, LLC; [Docket 76-4].

                •   The website bramautogroup.com is an aggregator for employment opportunities
                    and openings for the numerous dealerships in which BRAM Corp. provides
                    management service. This website has no connection whatsoever with BRAM
                    Auto Group, LLC, and;

                •   The online articles referenced in Plaintiff’s exhibits identify BRAM Auto Group
                    as conducting business, not BRAM Auto Group, LLC [Plaintiff’s Ex. “C”; Docket
                    76-3].

Plaintiff’s arguments rebutting his failure to properly effectuate service should be disregarded in

their entirety. Plaintiff ignores the service requirements under the Federal Rules of Civil

Procedure wherein he suggests service of a pleading on an employee of the wrong corporate


{N1441905.1 }                                   2
         Case 1:17-cv-08789-MKV-RWL Document 84 Filed 03/15/19 Page 4 of 10




entity satisfies the service requirements under the law. Plaintiff’s failure to comply with the

provisions of Federal Rule 4(h) mandates dismissal as this Court lacks personal jurisdiction over

BRAM Auto Group, LLC. As previously stated, service upon BRAM Auto Group, LLC is a

legal impossibility as the corporate entity has been dissolved since April of 2015.

            Moreover, Plaintiff's failure to assert allegations against the correct party in this action

supports dismissal based upon the failure to plead any viable legal claim under the Telephone

Consumer Protection Act (“TCPA”). Lastly, Plaintiff has had knowledge that BRAM Corp. d/b/a

BRAM Auto Group acted as the third-party administrator for Lexus of Manhattan. Plaintiff has

failed to properly join the proper parties and should be precluded from any such joinder.

            Accordingly, and for the reasons addressed herein, the Amended Complaint must be

dismissed in its entirety against BRAM Auto Group, LLC pursuant to Fed. R. Civ. P. 12(b)(2),

(5), and (6).

 Point I. Plaintiff Has Not And Cannot Properly Effectuate Service Upon BRAM Auto
          Group, LLC.

            There is no factual dispute that Ms. Jacquelin Calderon, the director of payroll for Bay

Ridge Auto Management Corp., received a copy of Plaintiff’s Amended Complaint on January

11, 2019. [Docket 68]. Regardless of this fact, Ms. Calderon has never been employed by BRAM

Auto Group, LLC – the named defendant in this action. [Docket 68].

            Ms. Calderon attests in her affidavit that “a man provided [her] a document that was a

copy of the Amended Complaint” and “the man did not identify himself nor the company that he

worked for”. [Docket No. 68, ¶ 2]. Ms. Calderon further attests that she has never been employed

by BRAM Auto Group, LLC and is not authorized to accept service of any documents on behalf

of BRAM Auto Group, LLC. [Docket No. 68, ¶¶ 5-6].




{N1441905.1 }                                    3
         Case 1:17-cv-08789-MKV-RWL Document 84 Filed 03/15/19 Page 5 of 10




            Plaintiff bears the burden of establishing that service was sufficient1. Khan v. Khan, 360

Fed.Appx. 202, 203 (2d Cir.2010) citing Burda Media, Inc. v. Viertel, 417 F.3d 292, 298 (2d

Cir.2005). The Second Circuit has long held that conclusory statements that a defendant was

properly served are insufficient to overcome a defendant’s sworn affidavit that she was

never served with process. Howard v. Klynveld Peat Marwick Goerdeler, 977 F.Supp. 654, 658

(S.D.N.Y. 1997), aff'd, 173 F.3d 844 (2d Cir. 1999). Plaintiff’s reliance upon an affidavit of

service that identifies Ms. Calderon and the date of service at the address of a non-party, BRAM

Corp. d/b/a BRAM Auto Group., is insufficient to refute Ms. Calderon’s signed affidavit.

[Docket 76-6; Docket No. 68]. Additionally, delivery of a summons and complaint to the wrong

person is a substantial defect in service of process. J & J Sports Productions, Inc. v. La Praanda

Mexicana bar & Restuarante Co., Inc., 2018 WL 4378166, 17-CV-4171 (E.D.N.Y. 2018) (A

corporation who was not the defendant in the case was served the complaint and the actual

defendant had not been served); Barron v. Miami Executive Towers Assocs. Ltd. P’ship, 142

F.R.D. 394, 397 (S.D.N.Y. 1992)(“actual receipt of both the summons and complaint is a base

requirement of Rule 4”). In Kwan v. Schlein, plaintiff served the company’s director of customer

services which was deemed insufficient service on a corporate agent. Kwan v. Schlein, 441 F.

Supp.2d 491, 496 (S.D.N.Y. 2006). This Court stated that a title of director of customer service,

unlike the title of CEO, does not on its face suggest that she is an officer or agent of the

company. Kwan, 441 F. Supp.2d at 496. Ms. Jackson, the director of customer services,

submitted an affidavit that she had never been authorized to accept service on behalf of the

company and she did not hold herself out as such to the process server. Id. This Court stated that

1
  It should be noted that Plaintiff has asserted that the service of the Amended Complaint on BRAM Auto Group,
LLC at 7500 Westside Avenue, North Bergen, NJ 07047 was proper; however, Plaintiff’s own pleading contradicts
that argument as the Amended Complaint asserts that BRAM Auto Group, LLC’s principal place of business at 666
64th Street, Brooklyn, NY 11220.



{N1441905.1 }                                     4
         Case 1:17-cv-08789-MKV-RWL Document 84 Filed 03/15/19 Page 6 of 10




plaintiff Kwan failed to offer any information to the contrary and determined that the plaintiff

failed to meet her burden of establishing proper service. Id. Similarly, Ms. Calderon attested she

was not authorized to accept service on behalf of BRAM Auto Group, LLC and did not advise

the process server of any such information.

            Moreover, Plaintiff has not submitted any evidence that proper service to an “officer, a

managing or general agent, or to any other agent authorized by appointment or by law to receive

service of process” was made upon BRAM Auto Group, LLC. See Fed.R.Civ.P. 4(h). It should

be noted that Plaintiff is not alleviated from satisfying his obligations under the law because this

firm advised that it cannot accept service on behalf of BRAM Auto Group, LLC. [Docket No.

76-5]. In fact, on November 26, 2018, Plaintiff’s counsel inquired “[w]ill you accept service for

Bram? If not, we’ll serve them at their headquarters.” See Myers Aff, Ex. 1. In response to

counsel’s inquiry, the undersigned stated that “our office has not been provided with authority to

accept service of Plaintiff’s First Amended Complaint on behalf of BRAM Auto Group, LLC.”

See Myers Aff, Ex. 2. Plaintiff was clearly on notice that it was his obligation under the law to

properly effectuate service on the named defendant, BRAM Auto Group, LLC. Plaintiff’s failure

to serve and name the correct corporate entity in this action is no fault other than his own.

Moreover, Plaintiff’s position that BRAM Auto Group, LLC has waived its jurisdictional

defenses based upon the filing of an answer in a non-related New Jersey action by separate

counsel is devoid of any merit. Plaintiff’s attempt to muddy the facts and corporate entities in

this matter does not negate the undisputed facts that (1) BRAM Auto Group, LLC is not BRAM

Corp. d/b/a BRAM Auto Group 2 ; (2) BRAM Auto Group, LLC was not served with the

Amended Complaint, and; (3) BRAM Auto Group, LLC has been dissolved since April 20,

2  Plaintiff was aware of this as early as October 4, 2018 when Lexus of Manhattan filed a declaration and response
to amend statements pertaining to BRAM Corp. [Docket Nos. 30-32].



{N1441905.1 }                                       5
         Case 1:17-cv-08789-MKV-RWL Document 84 Filed 03/15/19 Page 7 of 10




2015.

            Furthermore, Plaintiff’s opposition attempts to establish jurisdiction within New York’s

long-arm statute. Once again, Plaintiff discusses contracts, emails, and websites pertaining to

BRAM Corp. d/b/a BRAM Auto Group not the named defendant – BRAM Auto Group, LLC.

Plaintiff’s use of the long-arm statute should be disregarded in its entirety. This Court has held

that a dissolved corporate entity cannot be reached under the long-arm statute when the event in

dispute occurred after the dissolution of the entity. Linzer v. EMI Blackwood Music Inc., 904 F.

Supp. 207, 213 (S.D.N.Y. 1995) citing Flute v. Rubel, 682 F.Supp. 184, 187 (S.D.N.Y.1988). As

previously stated, BRAM Auto Group, LLC was dissolved on April 20, 2015 and the subject text

message was sent on November 11, 2017 – nearly two years after dissolution. As such, this

Court’s precedent should be applied here and the motion to dismiss should be granted in its

entirety.

            Based upon the forgoing, Plaintiff’s attempted service of the Amended Complaint

upon named defendant BRAM Auto Group, LLC failed to comply with the requirements

within FRCP Rule 4(h) and must be dismissed pursuant to FRCP Rule 12(b)(2) and

(b)(5).

 Point II. Plaintiff’s Amended Complaint Has Not And Cannot State A Claim Against
           Defendant BRAM Auto Group, LLC.

            Although Plaintiff has failed to establish personal jurisdiction, it cannot be disputed that

the Amended Complaint fails to plead a cause of action under the Telephone Consumer

Protection Act (“TCPA”) against BRAM Auto Group, LLC. The TCPA, 47 U.S. Code 227

(c)(5)(B), provides a “private right of action” for:

            “a person who has received more than one telephone call within any 12-month
            period by or on behalf of the same entity in violation of the regulations prescribed
            under this subsection may, if otherwise permitted by the laws or rules of court of a



{N1441905.1 }                                    6
         Case 1:17-cv-08789-MKV-RWL Document 84 Filed 03/15/19 Page 8 of 10




            State bring in an appropriate court of that State. . .an action to recover for actual
            monetary loss from such a violation . . .”

It cannot be disputed that BRAM Auto Group, LLC did not send the subject text message to the

Plaintiff. Plaintiff’s Amended Complaint has not and cannot set forth any reasonable inference

that BRAM Auto Group, LLC or any other entity, BRAM Corp. and BRAM Auto Group, sent

the subject text message to the Plaintiff on behalf of Lexus of Manhattan. Even accepting

Plaintiff’s allegations as true, which they are not, the Amended Complaint has not pled nor

supported the allegation that BRAM Auto Group, LLC initiated, contracted, directed, and/or

executed the text message to Plaintiff.

            Plaintiff cites to Geisler v. Petrocelli, 616 F.2d 636, 639 (2d Cir. 1980), wherein the

court’s task is “merely to assess the legal feasibility of the complaint, not to assay the weight of

the evidence which might be offered in support thereof.” [Docket No. 75]. The Court in Geisler

proceeds to state that “a complaint should not be dismissed for insufficiency unless it appears to

a certainty that plaintiff is entitled to no relief under any state of facts which could be provide in

support of the claim.” Geisler, 616 F.2d at 639. As addressed in detail above, it is not only

legally infeasible, but it is a certainty as well as a legal impossibility that Plaintiff cannot plead a

cause of action and be entitled to any relief against BRAM Auto Group, LLC. The following

further supports and warrants dismissal of the Amended Complaint:

                •   The declaration of John Coscia, Controller of BRAM Corp., states that BRAM
                    Auto Group, LLC was formed for the purpose to potentially hold a registered
                    service mark but was never used and ultimately dissolved. [Docket No. 67, ¶ 5].

                •   BRAM Auto Group, LLC was dissolved more than two years prior to the text
                    message received by Plaintiff (entity formed: 12/14/2014; entity dissolved
                    4/20/2015; text message: 11/11/2017); [Docket No. 67, ¶ 6; 67-2];

                •   Plaintiff’s Exhibit “B” provides an invoice from Zipwhip to BRAM Auto Group
                    dated February 1, 2017. The invoice was not provided to BRAM Auto Group,
                    LLC. [Docket No. 76-2].


{N1441905.1 }                                    7
         Case 1:17-cv-08789-MKV-RWL Document 84 Filed 03/15/19 Page 9 of 10




Moreover, the Zipwhip invoice and record reflects BRAM Corp.’s legitimate use of the trade

name BRAM Auto Group. [Docket No. 76-2]. Additionally, the Amended Complaint alleges that

“the texting campaign sent on behalf of Lexus, was initiated by Lexus’ parent corporation,

BRAM [BRAM Auto Group, LLC]. In this regard, BRAM [BRAM Auto Group, LLC] executed

business decisions on behalf of Lexus to begin a text message marketing campaign.” [Docket

No. 67-1, ¶ 24]. This purported allegation is directly refuted by the fact that Bram Auto Group,

LLC was dissolved on April, 20, 2015 – nearly two years prior to the subject text message being

sent. Plaintiff’s only other allegation against BRAM Auto Group, LLC within the Amended

Complaint asserts that “BRAM [BRAM Auto Group, LLC], on behalf of Lexus, engaged

Defendant Zipwhip to begin text servicing of non-Lexus clients.” [Docket No. 67-1, ¶ 25]. These

two conclusory allegations are directly refuted by the declaration of John Coscia, the documents

submitted by plaintiff’s opposition papers, and the record before the Court.

            Based upon the forgoing, BRAM Auto Group, LLC’s motion to dismiss pursuant to Rule

12(b)(6) should be granted in its entirety.

                                          CONCLUSION

            For all of the foregoing reasons, Defendant BRAM AUTO GROUP LLC respectfully

requests this Court enter an Order dismissing Plaintiff’s Amended Complaint in its entirety

pursuant to Fed. R. Civ. P. 12(b)(2), (5), and/or (6), with prejudice, and such other and further

relief as this Court deems just and proper.

Dated:            New York, New York
                  March 15, 2019              Respectfully submitted,
                                              LONDON FISCHER LLP

                                              /s/ Jason M. Myers
                                       By:
                                              Jason M. Myers, Esq.



{N1441905.1 }                                 8
        Case 1:17-cv-08789-MKV-RWL Document 84 Filed 03/15/19 Page 10 of 10




                                      Attorneys for Defendants
                                      59 Maiden Lane
                                      New York, New York 10038
                                      (212) 972-1000
                                      File No. 437.0567009
                                      TLeghorn@londonfischer.com
                                      JMyers@ londonfischer.com




{N1441905.1 }                         9
